              Case 3:22-cr-00426-JSC Document 249 Filed 05/21/24 Page 1 of 2




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11                                    UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA

13                                        SAN FRANCISCO DIVISION

14   UNITED STATES OF AMERICA,                        )   CASE NO. 3:22-CR-00426-JSC
                                                      )
15          Plaintiff,                                )   [PROPOSED] ORDER GRANTING PETITION
                                                          FOR WRIT OF HABEAS CORPUS AD
                    v.                                )   PROSEQUENDUM
16
                                                      )
17   DAVID DEPAPE,                                    )
                                                      )
18          Defendant.                                )
                                                      )
19

20          Upon motion of the United States of America, and good cause appearing therefore,
21 IT IS HEREBY ORDERED that the request of the United States for issuance of the Writ of Habeas

22 Corpus Ad Prosequendum requiring the production of defendant DAVID DEPAPE, before this Court on

23 the date stated in the Writ submitted, or as soon thereafter as practicable, is granted and the Writ shall be
24 issued as presented.

25
26 DATED: ___________________                                     __________________________________
                                                                  HON. JACQUELINE SCOTT CORLEY
27                                                                United States District Judge
28

     [PROPOSED] ORDER
     CASE NO. 3:22-CR-00426-JSC
              Case 3:22-cr-00426-JSC Document 249 Filed 05/21/24 Page 2 of 2




 1                         WRIT OF HABEAS CORPUS AD PROSEQUENDUM

 2

 3 TO:      JAY BIEBER, United States Marshal for the Northern District of California and

 4          PAUL MIYAMOTO, San Francisco County Sheriff, and/or any of their authorized deputies:

 5
 6          Pursuant to the foregoing petition and order, you are directed to produce the body of DAVID

 7 DEPAPE, who is in the custody of the San Francisco County Sheriff’s Office at the San Francisco

 8 County Jail located at 425 7th Street, San Francisco, California 94103 before the Honorable
 9 JACQUELINE SCOTT CORLEY, United States District Judge for the Northern District of California,
10 located at the San Francisco Federal Courthouse, located at 450 Golden Gate Avenue, Courtroom 8, San

11 Francisco, California 94102 on May 28, 2024 at 9:30 am, or as soon thereafter as practicable, on the
12 charges filed against defendant in the above-entitled Court.

13
14

15 DATED: ______________________                        CLERK, UNITED STATES DISTRICT COURT
                                                        NORTHERN DISTRICT OF CALIFORNIA
16

17
                                                 By:    __________________________________
18                                                      DEPUTY CLERK

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     WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 3:22-CR-00426-JSC
